 

 

Case 1:18-cr-00228-SHR Document 14 Filed 07/11/18 Page 1 of 5

_IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA: ~—*NO. 1:18-CR- 9a
v. :) GUDGE Xa mt)
BRIAN A. SALVADO,

Defendant.

 

FILED ©
HARRISBURG, PA
INDICTMENT ea
——— JUL 11 2018
THE GRAND JURY CHARGES: ppp RAY
| Deputy Clerk
COUNT ONE

On or about October 30, 2017, in Franklin County, in the Middle
District of Pennsylvania, and elsewhere, the defendant,

BRIAN A. SALVADO,

did knowingly employ, use, persuade, induce, entice and coerce a minor
to engage in sexually explicit conduct for the purpose of producing
visual depictions of such conduct, the visual depictions being produced

using materials that were mailed, shipped, and transported in and
 

 

Case 1:18-cr-00228-SHR Document 14 Filed 07/11/18 Page 2 of 5

affecting interstate and foreign commerce by any means, including by

computer.

All in violation of Title 18, United States Code, Section 2251(a) and
(e). | |
 

Case 1:18-cr-00228-SHR Document 14 Filed 07/11/18 Page 3 of5

THE GRAND JURY FURTHER CHARGES:

COUNT TWO

On or about November 5, 2017, in Franklin County, in the Middle

District of Pennsylvania, and elsewhere, the defendant,
BRIAN A. SALVADO,

did knowingly employ, use, persuade, induce, entice and coerce a minor
to engage in sexually explicit conduct for the purpose of producing
visual depictions of such conduct, the visual depictions being produced
using materials that were mailed, shipped, and transported in and
affecting interstate and foreign commerce by any means, including by
computer.

All in violation of Title 18, United States Code, Section 2251(a) and
(e).

 
Case 1:18-cr-00228-SHR Document 14 Filed 07/11/18 Page 4 of 5

THE GRAND JURY FURTHER CHARGES:

COUNT THREE

On or about November 7, 2017, in Franklin County, in the Middle
District of Pennsylvania, and elsewhere, the defendant,
BRIAN A. SALVADO,
did knowingly employ, use, persuade, induce, entice and coerce a minor

to engage in sexually explicit conduct for the purpose of producing

visual depictions of such conduct, the visual depictions being produced

 

using materials that were mailed, shipped, and transported in and
affecting interstate and foreign commerce by any means, including by -
computer.

All in violation of Title 18, United States Code, Section 2251(a) and
(e).
(e).

 

Case 1:18-cr-00228-SHR Document 14 Filed 07/11/18 Page 5of5

THE GRAND JURY FURTHER CHARGES: -

COUNT FOUR
On or about November 18, 2017, in Franklin County, in the
Middle District of Pennsylvania, and elsewhere, the defendant,
BRIAN A. SALVADO,

did knowingly employ, use, persuade, induce, entice and coerce a minor

to engage in sexually explicit conduct for the purpose of producing

visual depictions of such conduct, the visual depictions being produced
using materials that were mailed, shipped, and transported in and .
affecting interstate and foreign commerce by any means, including by

computer.

All in violation of Title 18, United States Code, Section 2251(a) and

 
   

 

_ ATRUEBILL |
FOREPERSON
DAVID J. FREED 2. Mi / (§&
UNITED STATES ATTORNEY DATE |

      
     
 

SAMEST.CLANCY VY
ASSISTANT U.S. ATTORNEY

 

 
